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     u'.: Free~
     ■■ 1,    •
                                10:09                     100 % (    J•



      <                 Heidi Brown               (JJ

                             lun. 11 mars ,

                    Look if we' re creative you could
                    spernd half of the year with the
                    girl~, incl.uding a large portion
                    with them in Oregon, remember
                    that the French school vacation
                    is more than a third of the year.
                                                         14:23 ✓/'

                  • If you would just spend a couple
                    of ·months working remotely in
                    France you could e·asily have the
                    girls· with you a solid haH of the
                    year.                        14:24 ;//

                    With more than half of your time
                    be.ing spent in Oreg·on.  14 :25 ✓/


                                        Appel voe.al
                                        Sans reponse          :
                                                            14 26

                        Vous avez suppri1ne ce ,nessage.

                                                     -
                                                         14:2
                                                            '
                                                                0V        I




                    If Tommy cares about you he •--------.-- '
                    would and will understafild that




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